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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 LAURA ENRIQUEZ,

      Plaintiff,

 v.
                                                     Case No. 1:21-cv-01794
 ATLANTIC RECOVERY SOLUTIONS,
 LLC,

      Defendant.

                         NOTICE OF VOLUNTARY DISMISSAL

        NOTICE IS HEREBY GIVEN that pursuant to Federal Rule of Civil Procedure 41(a),

Plaintiff, LAURA ENRIQUEZ, voluntarily dismisses Defendant, ATLANTIC RECOVERY

SOLUTIONS, LLC, with prejudice from this action with each party to bear its own attorney’s fees

and costs. This notice of voluntary dismissal is being filed with the Court before service by

Defendant of either an answer or a motion for summary judgment.

DATED: June 22, 2021                              Respectfully submitted,

                                                  LAURA ENRIQUEZ

                                                  By: /s/ Joseph S. Davidson

                                                  Joseph S. Davidson
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